  Case 2:03-cr-00265-TS Document 141 Filed 04/28/06 PageID.382 Page 1 of 2




              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                        CENTRAL DIVISION




 UNITED STATES OF AMERICA,
         Plaintiff,                                            MEMORANDUM DECISION AND
                                                               ORDER DENYING DEFENDANT’S
                                                               MOTION TO EXTEND DATE TO
                                                               REPORT TO PRISON


                 vs.


 MAX C. LLOYD,                                                 Case No. 2:03-CR-265 TS
         Defendant.




        This matter is before the Court on Defendant’s Motion to Extend Date to Report to

Prison. Defendant seeks to change the date that he is to report to federal prison from April 29,

2006, to May 15, 2006. Defendant alleges that he needs additional time to put his affairs in

order. The Court previously extended the date that Defendant was due to report to federal prison

from March 6, 2006, until April 29, 2006. The Court finds that Defendant has been given

sufficient time to get his affairs in order. It is therefore

        ORDERED that Defendant’s Motion to Extend Date to Report to Prison (Docket No.

140) is DENIED. Defendant is to present himself to the United States Bureau of Prisons by

April 29, 2006, as previously ordered.




                                                    1
Case 2:03-cr-00265-TS Document 141 Filed 04/28/06 PageID.383 Page 2 of 2




   DATED April 28, 2006.

                                 BY THE COURT:



                                 _____________________________________
                                 TED STEWART
                                 United States District Judge




                                   2
